Case 1:01-cv-12257-PBS Document 7074-1 Filed 04/21/10 Page 1 of 10




                          EXHIBIT 1
                  to Plaintiff’s Memorandum of Law
           in Opposition to Dey Defendants’ Motion in Limine
                       to Exclude from Evidence
        the Reports and Testimony of Stephen W. Schondelmeyer
      Case 1:01-cv-12257-PBS Document 7074-1 Filed 04/21/10 Page 2 of 10




0001
 1           UNITED STATES DISTRICT COURT
 2         FOR THE DISTRICT OF MASSACHUSETTS
 3 ---------------
 4 IN RE: PHARMACEUTICAL                            ) MDL NO. 1456
 5 INDUSTRY AVERAGE WHOLESALE                       ) CIVIL ACTION
 6 PRICE LITIGATION                                 ) 01-CV-12257-PBS
 7 THIS DOCUMENT RELATES TO                         )
 8 U.S. ex rel. Ven-a-Care of                       ) Judge Patti B. Saris
 9 the Florida Keys, Inc.                           )
10     v.                                           ) Chief Magistrate
11 Abbott Laboratories, Inc.,                       ) Judge Marianne B.
12 No. 06-CV-11337-PBS                              ) Bowler
13 - - - - - - - - - - - - - - -
14
15               Videotaped deposition of STEPHEN W.
16               SCHONDELMEYER, PHARM.D., PH.D.
17                               Volume I
18
19
20                                     Washington, D.C.
21                                     Wednesday, February 25, 2009
22                                     9:00 a.m.


0002
 1     Videotaped deposition of STEPHEN W.
 2 SCHONDELMEYER, PHARM.D., PH.D., held at the law
 3 offices of Jones Day, 51 Louisiana Avenue, N.W.,
 4 Washington, D.C. 20001-2113, the proceedings being
 5 recorded stenographically by Jonathan Wonnell, a
 6 Registered Professional Court Reporter and Notary
 7 Public of the District of Columbia, and transcribed
 8 under his direction.
       Case 1:01-cv-12257-PBS Document 7074-1 Filed 04/21/10 Page 3 of 10




0200
22      Q.   What expertise do you have to interpret for

0201
 1 this jury statutes, regulations and official
 2 documents?
 3    A. Well, I don't do so as a lawyer in the
 4 legal sense. However, my master's degree is in public
 5 administration and public policy from Ohio State
 6 University. And that master's program, the core of
 7 that was based on three major courses. One was the
 8 policy formulation. One was policy implementation.
 9 And one was policy evaluation.
10         And as a part of that master's program in
11 addition to the methods of each of those processes we
12 had to pick a particular piece of legislation and do a
13 complete legislative history and documentation and
14 interpretation of what were the factors involved in
15 the formulation of that policy, what were the factors
16 involved in implementation of that policy and what
17 were the factors involved in evaluation of that
18 policy, and to what degree did the reasons it was
19 brought about and the ways it was implemented have
20 concurrence with what actually occurred at the end.
21         I looked at -- I believe it was Public Law
22 93641, which was -- I believe that was a health

0202
 1 planning act or something back in the early 1970s, is
 2 the one I looked at. So I have experience with and
 3 have been trained in methods for evaluating public
 4 policy and legislative histories and putting them in a
 5 context.
     Case 1:01-cv-12257-PBS Document 7074-1 Filed 04/21/10 Page 4 of 10




01090
  1           UNITED STATES DISTRICT COURT
  2         FOR THE DISTRICT OF MASSACHUSETTS
  3 ---------------
  4 IN RE: PHARMACEUTICAL                 ) MDL NO. 1456
  5 INDUSTRY AVERAGE WHOLESALE            ) CIVIL ACTION
  6 PRICE LITIGATION                      ) 01-CV-12257-PBS
  7 THIS DOCUMENT RELATES TO              )
  8 U.S. ex rel. Ven-a-Care of            ) Judge Patti B. Saris
  9 the Florida Keys, Inc.                )
 10     v.                                ) Chief Magistrate
 11 Abbott Laboratories, Inc.,            ) Judge Marianne B.
 12 No. 06-CV-11337-PBS                   ) Bowler
 13 (caption continues)                   )
 14 - - - - - - - - - - - - - - -
 15
 16           Videotaped deposition of
 17    STEPHEN W. SCHONDELMEYER, PHARM.D., PH.D.
 18                  Volume IV
 19
 20               Washington, D.C.
 21              Thursday, May 21, 2009
 22                   9:00 a.m.

01091
  1 ---------------
  2 THIS DOCUMENT RELATES TO          )
  3 U.S. ex rel. Ven-a-Care of        ) Judge Patti B. Saris
  4 the Florida Keys, Inc.            )
  5    v.                             ) Chief Magistrate
  6 Dey, Inc., et al.                 ) Judge Marianne B.
  7 No. 05-CV-11084-PBS; and          ) Bowler
  8 ---------------
  9 U.S. ex rel. Ven-a-Care of        ) Judge Patti B. Saris
 10 the Florida Keys, Inc.            )
 11     v.                            ) Chief Magistrate
 12 Boehringer Ingelheim              ) Judge Marianne B.
 13 Corporation, et al.               ) Bowler
 14 No. 07-CV-10248-PBS               )
 15 - - - - - - - - - - - - - - -
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     Case 1:01-cv-12257-PBS Document 7074-1 Filed 04/21/10 Page 5 of 10




22

01092
  1     Videotaped deposition of STEPHEN W.
  2 SCHONDELMEYER, PHARM.D., PH.D., held at the law
  3 offices of Jones Day, 51 Louisiana Avenue, N.W.,
  4 Washington, D.C. 20001-2113, the proceedings being
  5 recorded stenographically by Jonathan Wonnell, a
  6 Registered Professional Court Reporter and Notary
  7 Public of the District of Columbia, and transcribed
  8 under his direction.
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      Case 1:01-cv-12257-PBS Document 7074-1 Filed 04/21/10 Page 6 of 10




01217
 17    Q. Leaving aside why they chose to pay that
 18 spread though those providers, is it your
 19 contention that those state Medicaid programs were
 20 acting unlawfully when they paid a spread to those
 21 providers?
 22       MR. HENDERSON: Objection.

01218
 1    A. Again, I wouldn't want to comment on
 2 what was lawful. I'm not here as a judge or a
 3 lawyer to interpret the law in that sense.



01346
 12     Q. And what is the role of the Departmental
 13 Appeals Board in adjudicating what the intent of
 14 regulations promulgated by the Department of
 15 Health and Human Services is?
 16     A. Again, I'm not holding myself out to be
 17 a lawyer or legal expert on their administrative
 18 procedures. But I believe that it's an
 19 administrative procedure within the agency that
 20 has to be exhausted before a state agency can take
 21 them to court, or that should be exhausted. I
 22 don't know if it has to be.
      Case 1:01-cv-12257-PBS Document 7074-1 Filed 04/21/10 Page 7 of 10




01479
  1           UNITED STATES DISTRICT COURT
  2         FOR THE DISTRICT OF MASSACHUSETTS
  3 ---------------
  4 IN RE: PHARMACEUTICAL                              ) MDL NO. 1456
  5 INDUSTRY AVERAGE WHOLESALE                         ) CIVIL ACTION
  6 PRICE LITIGATION                                   ) 01-CV-12257-PBS
  7 THIS DOCUMENT RELATES TO                           )
  8 U.S. ex rel. Ven-a-Care of                         ) Judge Patti B. Saris
  9 the Florida Keys, Inc.                             )
 10     v.                                             ) Chief Magistrate
 11 Abbott Laboratories, Inc.,                         ) Judge Marianne B.
 12 No. 06-CV-11337-PBS                                ) Bowler
 13 (caption continues)                                )
 14 - - - - - - - - - - - - - - -
 15
 16               Videotaped deposition of STEPHEN W.
 17               SCHONDELMEYER, PHARM.D., PH.D.
 18                         Volume V
 19
 20                               Washington, D.C.
 21                               Friday, May 22, 2009
 22                               9:00 a.m.

01480
  1 ---------------
  2 THIS DOCUMENT RELATES TO                  )
  3 U.S. ex rel. Ven-a-Care of                ) Judge Patti B. Saris
  4 the Florida Keys, Inc.                    )
  5    v.                                     ) Chief Magistrate
  6 Dey, Inc., et al.                         ) Judge Marianne B.
  7 No. 05-CV-11084-PBS; and                  ) Bowler
  8 ---------------
  9 U.S. ex rel. Ven-a-Care of                ) Judge Patti B. Saris
 10 the Florida Keys, Inc.                    )
 11     v.                                    ) Chief Magistrate
 12 Boehringer Ingelheim                      ) Judge Marianne B.
 13 Corporation, et al.                       ) Bowler
 14 No. 07-CV-10248-PBS                       )
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 21
     Case 1:01-cv-12257-PBS Document 7074-1 Filed 04/21/10 Page 8 of 10




22

01481
  1    Videotaped deposition of STEPHEN W.
  2 SCHONDELMEYER, PHARM.D., PH.D., held at the law
  3 offices of Jones Day, 51 Louisiana Avenue, N.W.,
  4 Washington, D.C. 20001-2113, the proceedings being
  5 recorded stenographically by Jonathan Wonnell, a
  6 Registered Professional Court Reporter and Notary
  7 Public of the District of Columbia, and transcribed
  8 under his direction.
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      Case 1:01-cv-12257-PBS Document 7074-1 Filed 04/21/10 Page 9 of 10




01539
 19    Q. But you're not an expert in determining
 20 the applicability of regulations to legal issues,
 21 are you, sir?
 22       MS. ST. PETER-GRIFFITH: Object to the

01540
  1 form.
  2    A. I'm an expert in public policy and its
  3 evaluation.
  4    Q. But not an expert in determining the
  5 applicability of regulations to legal issues,
  6 correct?
  7       MS. ST. PETER-GRIFFITH: Object to the
  8 form.
  9    Q. That's not part of your expertise?
 10     A. The public policy evaluation is my
 11 expertise.
 12     Q. And here we're not talking about public
 13 policy, we're talking about regulations as they
 14 relate to the classification of NovaPlus
 15 ipratropium bromide under Medicare Part B,
 16 correct, sir?
 17     A. This definitely has public policy
 18 implications and impact and evaluation.
 19     Q. But what you are basing your testimony
 20 on in part is an interpretation of the federal
 21 regulation, correct?
 22        MS. ST. PETER-GRIFFITH: Object to the

01541
  1 form.
  2    A. I'm basing it upon evaluating the
  3 implementation of a policy based on what was
  4 described by the agency and the tools and
  5 techniques I've been trained in in terms of
  6 public policy evaluation.
  7    Q. Does your interpretation of the
  8 regulation govern any aspect of your opinion on
  9 NovaPlus ipratropium bromide?
 10     A. I don't understand your question.
 11     Q. Are you interpreting the federal
 12 regulation 42 C.F.R. Section 405.517? Isn't that
 13 what you're doing in your written rebuttal
 14 report?
 15        MS. ST. PETER-GRIFFITH: Object to the
     Case 1:01-cv-12257-PBS Document 7074-1 Filed 04/21/10 Page 10 of 10




16   form.
17       A. I believe what I've stated in my report
18   is appropriate opinion, appropriately justified,
19   and I hold to that opinion.
20       Q. So in fact you are interpreting the
21   federal regulation, correct?
22         MS. ST. PETER-GRIFFITH: Object to the

01542
 1 form.
 2    A. I would not describe it that way.
